
66 So. 3d 1027 (2011)
Daniel CORRIDI, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1839.
District Court of Appeal of Florida, Fifth District.
July 22, 2011.
Daniel Corridi, Indiantown, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
*1028 PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying the rule 3.850 motion in Case No. 05-2005-CF-051951-A, in the Circuit Court in and for Brevard County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
TORPY, LAWSON and COHEN, JJ., concur.
